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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
----------------------------------------------------------------X
MEGED FUNDING GROUP CORP.,
                                                                          24 Civ. 0863
                                            Plaintiff,

        – against –
                                                                    NOTICE OF REMOVAL
VARALUZ LLC and RONALD F.
HENDERSON

                                             Defendants.
----------------------------------------------------------------X


        PLEASE TAKE NOTICE THAT, pursuant to 28 U.S.C. §§ 1332, 1441, and 1446, the

Defendants – Varaluz LLC and Ronald F. Henderson – by and through their attorneys, hereby

remove this action to the United States District Court for the Eastern District of New York.

        Defendants respectfully state the following grounds for removing this action:

        1.       Varaluz LLC and Ronald Franklin Henderson are defendants in a civil action

entitled Square Funding Cali LLC v. Varaluz LLC and Ronald Franklin Henderson, pending in the

Supreme Court of New York, County of Kings (“State Court Action”), in Index Number

500126/2024.

        2.       Upon information and belief, Plaintiff Meged Funding Group Corp. (“Meged”) is

a domestic business corporation incorporated in New York and has its principal place of business

in New York and, thus, Plaintiff is a citizen of the state of New York.

        3.       Defendant Varaluz LLC is a citizen of the state of Nevada, the Philippines and

China as its members (i.e., owners) reside in the state of Nevada, the Republic of the Philippines,

and the People’s Republic of China

        4.       Defendant Ronald F. Henderson is a citizen of the state of Nevada.
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       5.      Plaintiff filed the complaint initiating the State Court Action on December 22, 2023.

       6.      Plaintiff seeks $86,498.88, plus interest from December 19, 2023, costs,

disbursements and attorney's fees

       7.      This Court has subject matter jurisdiction pursuant to 28 U.S.C. §§ 1332 because

the parties are completely diverse and the amount in controversy exceeds $75,000.

       8.      Pursuant to 28 U.S.C. § 1446(d), Defendants will promptly give written notice of

the removal to federal court of the State Court Action to Plaintiff.

       9.      This Notice of Removal to Plaintiff’s counsel of record and will file a copy of this

Notice of Removal with the clerk of the state court in which the NY State Court Action is pending.

       10.     WHEREFORE, Defendants request that this civil action be removed from the

Supreme Court of the State of New York, County of Kings, to the United States District Court for

the Southern District of New York.


Dated: February 5, 2024
Long Island City, NY



                                                                                 /s/ David Kasell
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